Dear Secretary Carnahan:
This opinion letter responds to your request dated June 23, 2009, for our review under § 116.332, RSMo, of the sufficiency as to form of an initiative petition, submitted by Theo Ted Brown.
We conclude that the petition must be rejected for at least the following reasons:
  1. The petition is not in the form prescribed by § 116.040, RSMo 2000.
  2. The petition does not contain "all matter which is to be deleted included in its proper place enclosed in brackets and all new matter shown underlined" as required pursuant to § 116.050, RSMo 2000.
Because of our rejection of the form of the petition for the reasons stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to § 116.332.3, RSMo 2000, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
Very truly yours,
                                                         _________________ CHRIS KOSTER Attorney General *Page 1 